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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Brian Swontek,                                     No. CV-16-03602-PHX-DJH
10                  Plaintiff,                          ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
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15          On March 5, 2019, the Court ordered the parties to file a Stipulation to Dismiss or
16   a Status Report stating good cause by April 19, 2019. (Doc. 144). Despite the Order, the
17   parties failed to file a Stipulation to Dismiss or Status Report by April 19, 2019.
18          Accordingly,
19          IT IS ORDERED that the parties shall file a Stipulation to Dismiss or Status Report
20   stating good cause no later than 4:00 p.m. on April 24, 2019. Failure to comply with this
21   order herein may result in the Court dismissing the case.
22          Dated this 23rd day of April, 2019.
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25                                                Honorable Diane J. Humetewa
                                                  United States District Judge
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